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                           UNITED STATES DISTRICT COURT
                            THE DISTRICT OF MARYLAND


JUDY JIEN, et al.,                                   Civil Action No. SAG-19-2521

                              Plaintiffs,

                      v.

PERDUE FARMS, INC., et al.,

                              Defendants.



   PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS
BETWEEN PLAINTIFFS AND DEFENDANTS ALLEN HARIM FOODS, LLC, AMICK
 FARMS, LLC, BUTTERBALL, LLC, FIELDALE FARMS CORPORATION, FOSTER
  POULTRY FARMS, JENNIE-O TURKEY STORE, INC., KOCH FOODS, INC., O.K.
       FOODS, INC, TYSON FOODS, INC., AND KEYSTONE FOODS, LLC,
      CERTIFICATION OF SETTLEMENT CLASS, AND APPOINTMENT OF
                     SETTLEMENT CLASS COUNSEL

       Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Plaintiffs Judy Jien, Kieo

Jibidi, Elaisa Clement, Glenda Robinson, Emily Earnest, and Kevin West (collectively,

Plaintiffs) hereby move for an Order granting preliminary approval of settlements reached

between Plaintiffs and the following Defendants: Allen Harim Foods, LLC, Amick Farms, LLC,

Butterball, LLC, Fieldale Farms Corporation, Foster Poultry Farms, Jennie-O Turkey Store, Inc.

(JOTS), Koch Foods, Inc., O.K. Foods, Inc., Tyson Foods, Inc. and Keystone Foods, LLC

(collectively, Settling Defendants). The settlement terms are memorialized in written agreements

entered into Allen Harim Foods, LLC and Plaintiffs on October 9, 2024; by Amick Farms, LLC

and Plaintiffs on July 3, 2024; by Butterball, LLC and Plaintiffs on August 27, 2024; by Fieldale

Farms Corporation and Plaintiffs on December 9, 2024; by Foster Poultry Farms and Plaintiffs

on October 3, 2024; by JOTS and Plaintiffs on August 20, 2024; by Koch Foods, Inc. and

Plaintiffs on October 16, 2024; by O.K. Foods, Inc. and Plaintiffs on September 25, 2024; and




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by Tyson Foods, Inc. and Keystone Foods, LLC (collectively, Tyson), and Plaintiffs on August

5, 2024. These agreements are collectively referred to herein as the Settlement Agreements.

        Plaintiffs respectfully request that the Court:

        (a)     Grant preliminary approval of the Settlement Agreements;

        (b)     Certify the proposed Settlement Classes;

        (c)     Appoint the Named Plaintiffs in this litigation—Judy Jien, Kieo Jibidi, Elaisa

Clement, Glenda Robinson, Emily Earnest, and Kevin West—as class representatives of the

Settlement Classes;

        (d)     Appoint the law firms Hagens Berman Sobol Shapiro LLP, Cohen Milstein

Sellers & Toll PLLC, and Handley Farah & Anderson PLLC (collectively serving as Interim Co-

Lead Counsel) as Settlement Class Counsel;

        (e)     Grant a stay of all proceedings in this litigation against the Allen Harim Released

Parties, the Amick Related Parties, the Butterball Related Parties, the Fieldale Related Parties,

Foster Farms Related Parties, the JOTS Related Parties, the Koch Related Parties, the O.K.

Foods Related Parties, and the Tyson Released Parties (as defined in the Settlement Agreements)

except as necessary to effectuate the Settlement Agreements or as otherwise agreed to by the

settling parties.

        This motion is made on the grounds that the Settlement Agreements, which provide a

total of $180,800,000 (180.8 million U.S. dollars) cash payment for the Settlement Class and

material cooperation by the Settling Defendants in the litigation against the remaining

Defendant, is fair, reasonable, and adequate, thereby satisfying the requirements of Rule 23(e) of

the Federal Rules of Civil Procedure. This motion is based on the Settlement Agreements, the




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memorandum in support of the motion for preliminary approval, and the declaration of Brent W.

Johnson—all of which accompany this motion.




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                                  Co-Lead Counsel for Plaintiffs and the Proposed
                                  Class




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                             the Proposed Class




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                               CERTIFICATE OF SERVICE

       The undersigned attorney of record hereby certifies that on December 23, 2024, a true

and correct copy of the foregoing was served by email upon all counsel of record.

Dated: December 23, 2024

                                            /s/ Brent W. Johnson
                                             Brent W. Johnson




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